Appellant pleaded guilty under an information charging an aggravated assault and was by the trial court fined $250.00 and sentenced to serve one year in the county jail, and he appeals.
The statement of facts is found to have been included in the transcript of the clerk which is contrary to the statute as amended in 1931, and found in Article 760, Vernon's Ann. C. C. P., Vol. 3, (Pocket Part, p. 43), Section 2 of which article reads as follows:
"2. To accompany Transcript. — The Statement of Facts in felony or misdemeanor cases shall not be copied in The Transcript of the Clerk, but when agreed to by the parties and approved by the Judge, shall be filed in duplicate with the Clerk, and the original sent up as a part of the record of the cause on appeal; and like procedure shall be followed if the Statement of Facts is prepared by the parties or by the Judge, on the failure of the parties to agree."
Therefore we cannot consider this presented statement of facts.
There are also five bills of exception found in the record, four of them being disallowed by the trial court and no exception found thereto. The remaining bill, being the only one allowed, relates to the action of the trial court is overruling the motion for a new trial, which was needless, it not being necessary that such bill be reversed. See 4 Tex. Jur. p. 399, sec. 266, as to the requirements of a bill of exception complaining of the overruling of a motion for a new trial.
On account of the absence of a statement of facts properly brought forward, we have no error presented herein. See Crutchfield v. State, 148 Tex.Crim. R., 187 S.W.2d 911.
The judgment of the trial court is affirmed. *Page 147 
                    ON MOTION FOR REHEARING.